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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

United States of America

      v.                                     2:12-cr-181-2

Bryan T. Jones

                                     ORDER
      There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Doc. 121) that the
defendant’s guilty plea be accepted.                The court accepts the
defendant’s     plea   of   guilty    to   Count    2   of   the   superseding
indictment, and he is hereby adjudged guilty on that count.                  The
court will defer the decision of whether to accept the plea
agreement until the sentencing hearing.


Date: March 26, 2013                    s\James L. Graham
                                  James L. Graham
                                  United States District Judge
